 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE
 2    P O BOX 50013
      SAN JOSE, CA 95150-0013
 3
      Telephone: (408) 354-4413
 4    Facsimile: (408) 354-5513
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 7
 8                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9                                      SAN JOSE DIVISION
10
11    In Re:                                       ) Chapter 13
                                                   ) Case No. 17-51901 HLB
12    TIMOTHY SCOTT ELLIS                          )
                                                   )
13    JENNIFER REBECCA ELLIS                       ) NOTICE OF UNCLAIMED DIVIDEND
                                                   ) Claimant:
14                                                 ) JOHN & DAWN GROENDYKE
                                                   ) Court Claim No. 4
15                                  Debtors        )
16
17    TO THE CLERK, UNITED STATES BANKRUPTCY COURT:

18       Pursuant to Federal Rule of Bankruptcy Procedure 3011, the Trustee in the above

19    referenced case hereby turns over to the Court, unclaimed funds in the amount of

20    $13,132.69. The name and last known address of the claimant entitled to the unclaimed

21    dividend is as follows:

22                         John & Dawn Groendyke
                           525 S Arlington Rd
23                         Orange, CA 92869

24                                                    /s/ Devin Derham-Burk
25
      Dated: January 04, 2023                      DEVIN DERHAM-BURK, Trustee
26
27
28


     Case: 17-51901     Doc# 77     Filed: 01/04/23    Entered: 01/04/23
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                                                                                                Dividend
